  Case 19-00372     Doc 86    Filed 02/17/22 Entered 02/17/22 08:26:49     Desc Main
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                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

       In re:                                Chapter 7

       Mack Industries, Ltd., et al.,        Bankruptcy No. 17-09308
                                             (Jointly Administered)
                          Debtors.
                                             Honorable Carol A. Doyle

       Ronald R. Peterson, as chapter 7
       trustee for Mack Industries, Ltd.,

                          Plaintiff,
       v.
                                             Adversary No. 19-00372
       Capital One N.A., et al.,

                          Defendants.

                             STIPULATION OF DISMISSAL
       Plaintiff Ariane Holtschlag, as chapter 7 trustee for Mack Industries, Ltd., and
Defendants Capital One, N.A. and Capital One Financial Corp. hereby stipulate,
pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, made
applicable to this proceeding by Rule 7041 of the Federal Rules of Bankruptcy
Procedure, to the voluntary dismissal of the captioned adversary proceeding with
prejudice, with each party to bear its own costs and attorneys’ fees.




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Dated: February 11, 2022              Ariane Holtschlag, as chapter 7 trustee
                                      for Mack Industries, Ltd.

                                      By: /s/ Justin Storer
                                      One of Her Attorneys

                                      Capital One, N.A. and Capital One
                                      Financial Corp.


                                      By: /s/ Matthew Stromquist
                                      One of Their Attorneys



Prepared by:
Jeffrey K. Paulsen (6300528)
Justin Storer (6293889)
FACTORLAW
105 W. Madison, Suite 1500
Chicago, IL 60602
Tel:    (312) 878-6976
Email: jstorer@wfactorlaw.com




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